 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 GIRL SCOUTS OF THE UNITED STATES OF                             :   ORDER DENYING MOTIONS
 AMERICA,                                                        :   TO EXCLUDE
                                                                 :
                                          Plaintiff,
                                                                 :   18 Civ. 10287 (AKH)
                        v.                                       :
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                                                                 :
 BOY SCOUTS OF AMERICA,                                          :
                                          Defendant.             :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Defendant moved to exclude the reports, testimonies, and opinions of Ms. Lauren

Kindler and Dr. Eugene Ericksen. See ECF Nos. 91, 95. The Court held a hearing on the

motions on March 3, 2021. At this stage of the litigation, with Defendant’s motion for summary

judgment pending (ECF No. 97), the Court finds that the experts’ reports, testimonies, and

opinions are relevant to the issues raised by Defendant’s motion for summary judgment. For the

foregoing reasons, as well as those stated at the hearing, Defendant’s motions to exclude are

denied, without prejudice to its ability to move in limine before trial. See Fed. R. Evid. 702.

                 The Clerk of Court shall terminate the open motions (ECF Nos. 91, 95).



                 SO ORDERED.

Dated:           March 3, 2021                              __________/s/______________
                 New York, New York                          ALVIN K. HELLERSTEIN
                                                             United States District Judge




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